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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                          CASE NO: 1:16-cv-23170-FAM/O’SULLIVAN

  ELLIOTT GELBER, ANGEL LOPEZ,
  LUIS PAGAN, CASSANDRA BAKER,
  SIGFREDO HERNANDEZ, FARA DIAZ,
  SYLVIA BATISTA, LAREZO MORERA,
  MAGALIE SANTIAGO, MONICA VILA,
  JEAN VALBRUM, SANDRA AMENEIRO,
  JORGE AGULAR, CARLOS TOLENTINO,
  RUBEN YERO & all others similarly situated

         Plaintiffs,
  v.

  AKAL SECURITY, INC.,

         Defendant.
                                               /

                             DEFENDANT’S NOTICE OF APPEAL

         Notice is hereby given that Akal Security, Inc., Defendant in the above named case, hereby

  appeals to the United States Court of Appeals for the Eleventh Circuit from the District Court’s

  Final Judgment, entered on October 10, 2018 [D.E. 224], and all rulings, proceedings, orders,

  findings, and decisions (whether oral or written) interlocutory thereto or underlying the judgment,

  including (but not limited to) the Order Granting Reconsideration of Summary Judgment

  [D.E. 223], entered on October 10, 2018.

  Dated: October 24, 2018                      Respectfully submitted,

                                               By: /s/ Jenna Rinehart Rassif
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                                                     Case No.: 1:16-cv-23170-FAM/O’SULLIVAN


                                  CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing document was served by

  CM/ECF on October 24, 2018, on all counsel or parties of record on the Service List below.

                                                 /s/ Jenna Rinehart Rassif
                                                 Jenna Rinehart Rassif, Esq.

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